




 











&nbsp;

IN THE

TENTH COURT OF APPEALS

&nbsp;




 
  
 
 
  
  
 


&nbsp;

&nbsp;



No. 10-08-00268-CV

&nbsp;

In re Texas Department of Family 

and
Protective Services

&nbsp;

&nbsp;

&nbsp;



No. 10-08-00270-CV

&nbsp;

IN RE JAMES EHLERS

&nbsp;

&nbsp;



Original Proceeding

&nbsp;

&nbsp;



MEMORANDUM&nbsp; Opinion



&nbsp;

The Department of Family and Protective Services
filed an application with this Court for the issuance of a writ of mandamus
against the Respondent, Honorable Greg Wilhelm, Judge of the County Court at
Law No. 1 of Ellis County.&nbsp; James Ehlers, joined by attorney ad litem Gloria
Ortiz, also filed a mandamus application against Judge Wilhelm.&nbsp; In both
applications, the parties contend that Respondent abused his discretion by
refusing to enter a final judgment memorializing the jury’s verdict in a
parental-rights termination case and by issuing an order appointing a
transition master and a transition coordinator.&nbsp; Ehlers further contends that Respondent
abused his discretion because the transition order effectively denies him
access to his daughter.

However, the trial court has since signed a final
judgment and a separate order vacating its transition order.&nbsp; Accordingly, we
dismiss the mandamus applications as moot.&nbsp; See In re Jaramillo, 164 S.W.3d 774, 775 (Tex. App.—Texarkana 2005, orig. proceeding).

&nbsp;

FELIPE REYNA

Justice

&nbsp;

Before Chief Justice
Gray,

Justice
Vance, and

Justice
Reyna

Petitions dismissed 

Opinion delivered and
filed September 17, 2008

[OT06]








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